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                  EXHIBIT 23
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                           DEPARTMENT        OF HEALTH   & HUMAN   SERVICES                         Office of Inspector General




                                                                                                    Memorandum
                Date       .FEt31219g7

                From       June Gibbs Brown
                           Inspector Gener               ~   b.

                ‘Ub’ec! Review of Pharrn@    Acquisition Costs for Drugs Reimbursed Under the Medicaid
                        Prescription Drug Program of the Maryland Department of Health and Mental Hygiene
                To      (A-06-95-OO066)

                          Bruce C. Vladeck
                          Administrator
                          Health Care Financing Administration


                          Attached for your itiormation and use is our final report entitled, “Review of
                          Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription
                          Drug Program of the Maryland Department of Health and Mental Hygiene.” This
                          review was conducted as part of a nationwide audit of pharmacy drug acquisition costs
                          at the Health Care Financing Administration’s request. Most States reimburse
                          pharmacies for Medicaid prescriptions using a formula which generally discounts the
                          average wholesale price (AWP) by 10.5 percent. The objective of our review was
                          focused on developing an estimate of the discount below AWP at which pharmacies
                          purchase brand name and generic drugs.

                           The Maryland Department of Health and Mental Hygiene (State Agency) was 1 of 11
                           States randomly selected as part of the nationwide review. Maryland reported drug
                           expenditures of$131. 1 million in Calendar Year 1994.

                          Through statistical sampling, we obtained pricing formation from 26 Maryland
                          pharmacies. We obtained 1,259 invoice prices for brand name drugs, and 823-invoice
                          prices for generic drugs. The overall estimate of the extent that AWP exceeded
                          pharmacy purchase invoice prices was 18.7 percent for brand name drugs and
                          41.9 percent for generic drugs. The national estimates are 18.3 percent and
                          42.5 percen~ respectively. The estimates combine the results for four categories of
                          pharmacies including rural-chain, rural-independen~ urban-chain, and urban-
                          independent pharmacies. The estimates exclude the results obtained from
                          non-traditional pharmacies (nursing home pharmacies, hospital pharmacies, home IV,
                          etc.) because such pharmacies purchase drugs at substantially greater discounts than
                          retail pharmacies, and including them would have inappropriately inflated our
                          percentages.
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Page 2- Bruce C. Vladeck

We are recommending that the State Agency consider the results of this review as a
factor in any future changes to pharmacy reimbursement    for Medicaid drugs.

In response to our draft report, the Secretary of the State Agency thanked us for the
report and suggested that linking AWP to the average manufacturers price of the
Federal rebate program would make AWP more valid. The complete text of the
Secretary’s comments are included in Appendix 4.

We welcome any comments you have on this Maryland State report. If you have any
questions, call me or have your staff contact George M. Reeb, Assistant Inspector
General for Health Care Financing Audits, at (410)786-7104.

To facilitate identification, please refer to Common Identification Number
A-06-95-00066.

Attachment
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  Department of Health and Human Services
             OFFICE OF
        INSPECTOR GENERAL




REVIEW OF PHARMACY ACQUISITION  COSTS
    FOR DRUGS REIMBURSED UNDER THE
 MEDICAID PRESCRIPTION DRUG PROGRAM
                OF THE
 MARYLAND DEPARTMENT OF HEALTH AND
            MENTAL HYGIENE




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                                                      JUNE   GIBBS BROWN
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                                                             FEBRUARY 1997
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                                             SUMMARY

    A     t the request of the Health Care Financing Administration (HCFA), the Office of
          Inspector General (OIG) conducted a nationwide review of pharmacy acquisition costs
    for drugs reimbursed under the Medicaid prescription drug program. Since most States
    reimburse pharmacies for Medicaid prescriptions using a formula which discounts the average
    wholesale price (AWP), the objective of our review was to develop an estimate of the discount
    below AWP at which pharmacies purchase brand name and generic drugs.

    To accomplish our objective, we selected a random sample of 11 States from a universe of 48
    States and the District of Columbia. Arizona was excluded from the universe of States
    because the Medicaid drug program is a demonstration project using prepaid cavitation
    fmncing and Tennessee was excluded because of a waiver received to implement a statewide
    managed care program for Medicaid. Maryland was one of the sample States selected, as well
    as California, Delaware, District of Columbia, Florida, Missouri, Montana, Nebraska,
    New Jersey, North Carolina, and Virginia.

    Additionally, we selected a sample of Medicaid pharmacy providers from each State and
    obtained invoices of their drug purchases. The pharmacies were selected from each of five
    categories--rural-chain, rural-independent, urban-chain, urban-independent and non-traditional
    pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
    traditional category so as to be able to exclude those pharmacies from our overall estimates. We
    believed such pharmacies purchase drugs at substantially greater discounts than retail
    pharmacies, and including them would have inflated our percentages.

    We compared each invoice drug price to AWP for that drug and calculated the percentage, if any,
    by which the invoice price was discounted below AWP. We then projected those differences to
    the universe of pharmacies in each category for each State and calculated an overall estimate for
    each State. Additionally, we projected the results from each State to estimate the nationwide
    difference between AWP and invoice price for each category.

    In Maryland, we obtained pricing information from 26 pharmacies. Specifically, we obtained
    1,259 invoice prices for brand name drugs, and 823 invoice prices for generic drugs. For
    Maryland, the overall estimate of the extent that invoice prices were discounted below AWP was
    18.7 percent for brand name drugs and 41.9 percent for generic drugs. The national estimates are
    18.3 percent and 42.5 percent, respectively. The estimates combine the results for four
    categories of pharmacies including rural-chain, rural-independent, urban-chain and urban-
    independent and exclude the results obtained from non-traditional pharmacies.




      Review of PharmacyAcquisitionCosts for Drugs ReimbursedUnder the MedicaidPrescriptionDrug Program
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    We are recommending-that the Maryland Department of Health and Mental Hygiene (State
    Agency) consider the results of this review as a factor in any fiture changes to pharmacy
    reimbursement for Medicaid drugs. We will share the information with HCFA from all 11 States
    in a consolidation report for their use in evaluating the overall Medicaid drug program.

    The Secretary of the State Agency responded to our draft report in a letter dated,
    November 7, 1996. The Secretary thanked us for the report and suggested that linking AWP to
    the average manufactures price of the Federal rebate program would make AWP more valid. The
    fill text of the Secretary’s comments are included in Appendix 4.




      Review of PharmacyAcquisitionCosts for DrugsReimbursedUnder the MedicaidPrescriptionDrug Program
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            APPENDIX 3- NATIONWIDE SAMPLE RESULTS

            APPENDIX 4- STATE AGENCY COMMENTS




     Review of PharmacyAcqukhion COWS for D~gs ReimbursedUnderthe MedicaidPrescriptionDrug program
                          of the MarylandDepartmentof Healthand MentalHygiene
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                                     INTRODUCTION
At the request of HCFA, OIG, Office of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
Maryland Department of Health and Mental Hygiene (State Agency). The objective of our
review was to develop an estimate of the difference between the actual acquisition costs of drugs
and AWP. This review was conducted as a part of a nationwide review of pharmacy acquisition
costs. Maryland was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The
AWP is the price assigned to the drug by its manufacturer and is listed in either the RedBook,
Medispanor the BlueBook--publications universally used in the pharmaceutical industry. Prior
to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for 15.9
percent below AWP. In 1989, OIG issued a follow-up report which concluded that pharmacies
were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and 1989 reports
combined brand name and generic drugs in calculating the percentage discounts and included a
comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual further provided that, absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratoriti on changes to States’ reimbursement policies. The morato&un expired on
December 31, 1994 and HCFA requested that we, once again, determine the difference between
AWP and actual pharmacy acquisition cost.


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     The State Agency reported drug expenditures of$13 1.1 million in Calendar Year (CY) 1994.

     SCOPE

     Our review was performed in accordance with generally accepted government auditing standards.
     The objective of our review was to develop an estimate of the difference between AWP and the
     actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
     providers. Our objective did not require that we identi~ or review any internal control systems.

     Our review was limited to ingredient acquisition costs and did not address other areas such as:
     the effect of Medicaid business as a contribution to other store sales; the cost to provide
     professional services other than dispensing a prescription such as therapeutic interventions,
     patient education, and physician consultation; and the cost of dispensing which includes costs for
     computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
     administrative costs, and general overhead. We also did not take into consideration the effect of
     Federal upper limit amounts on generic drug reimbursements or usual and customary charge
     limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
     reimbursements in a subsequent review.

     We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
     Agency was responsible for classifying each pharmacy as chain, independent or non-traditional.
     For purposes of this review, a chain was defined as four or more pharmacies with common
     ownership. We determined whether each pharmacy was rural or urban by comparing the county
     location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
     components. We selected a stratified random sample of 60 pharmacies with 12 pharmacies
     selected from each of 5 strata--rural-chain, rural-independent, urban-chain, urban-independent,
     and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). We
     included the non-traditional category so as to be able to exclude those pharmacies from our
     estimates. We believed that such pharmacies are able to purchase drugs at substantially greater
     discounts than a retail pharmacy and would inflate our estimate.

     We requested, from each pharmacy selected, the largest invoice from each different source of
     supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
     chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
     Each pharmacy was initially assigned a month from January through September in order to
     provide a cross-section of this 9-month time period.

     We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that
     the invoices contained the information necessary for our review. We eliminated over-the-counter
     items. Some invoices did not include National Drug Codes (NDC), which were needed to obtain
     AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red

        Review of Pharmacy AcquishionCosts for Drugs ReimbursedUnder the MedicaidprescriptionDrug Program
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Book,a nationally recognized reference for drug product and pricing information, to obtain
NDCS or identi~ over-the-counter items. One prominent wholesaler, whose invoices contained
that wholesaler’s item number rather than NDCS, provided us with a listing that converted their
item number to an NDC. If we were unable to identi~ the NDC for a drug, we eliminated the
drug. This was a common occurrence for generic drugs where there was no indication on the
invoice as to the manufacturer of the drug.

We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
We used that listing to classi~ each drug on the invoices as brand or generic. If a drug was not
on the HCFA listing, we used the RedBookto determine whether the drug was brand or generic.
Additionally, we obtained drug expenditure itiormation from HCFA-64 Reports.

The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
each drug. We compared the invoice drug price to AWP for each drug and calculated the
percentage, if any, by which the invoice price was discounted below AWP. If a drug from an
invoice was not on the pricing file we eliminated that drug.

An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
pharmacy representatives from the sample States. .4t this meeting, we presented a methodology
for performing the review and the methodology was refined with input from the State
representatives. At a follow-up meeting held in Richmond, Virginia, on September 27-28,
1995, we presented the results of our review with the sample States.

We used OAS statistical computer software to calculate all estimates as well as to generate all
random numbers. We did not independently verifj any information obtained from third party
sources. Our review was conducted by our Little Rock, Arkansas OAS field office with
assistance from our OAS field offices in Baton Rouge, Louisiana and Austin, Texas from
September 1994 to September 1995.




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                                                 FtiDINGSAND RECOMMENDATIONS
BRAND NAME DRUGS                                                                “

We estimate that invoice prices for brand name drugs were discounted 18.7 percent below
AWP. The estimate combined all pharmacy categories except non-traditional pharmacies and
was based on the comparison to AWP of 1,259 invoice prices received from 26 pharmacies. The
standard deviation for this estimate was 0.39 percent (see Appendix 2).

The estimates by individual categories for brand name drugs are summarized in the following
table:




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                                                                                                                                                              N-”       T>




The following table shows the number of pharmacies sampled and the number of prices
reviewed by individual category for brand name drugs.


                                                                           Number        of                                       Prices              from
                                                        Sample                  Pharmacies                              Sampla                   Pharmacies




                                                  E
                     Rural-Chain



 Rural-             lndapand_”t



                Urban-Chain



 LJrban-lnd                Opand           Ont



           Non-l_         radltional


                                                   2.
 Overall               (Exe.       NorIT)




    Reviewof PharmacyAcqukhion Costs for DrugsReimbursedUnderthe MedicaidPrescriptionDrug Program
                        of the MarylandDepartmentof Healthand MentalHygiene
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    GENERIC DRUGS

    We estimate that invoice prices for generic drugs were discounted 41.9 percent below Awl?.
    Once again the estimate combined all pharmacy categories except non-traditional pharmacies.
    The estimate was based on the comparison to AWP of 823 invoice prices received from 26
    pharmacies. The standard deviation for this estimate was 3.18 percent (see Appendix 2).

    The estimates of the discounts below Awl? for generic drugs are summarized by individual
    categories in the following table:


                                                                                          Estimat=d                     Differ=nc~



                 60


                 50


                 40


                 30


                 20


                 10


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                                            Chmln                        I“d-p.           ncle”t                Chmtn           I“dep.            ”ae”t                  [No”T)                 (ExDiudlnm
                                                                                                                                                                                                          No”    T)




    The following table shows the number of pharmacies sampled and the number of prices
    reviewed by individual category for the generic drugs.

                                                                                      Num            b-r   of                                                    Prices               from
                                                                       Sample                      Pharmacies                                          Sample                    Pharmacies




                      Rural-Chain
                                                                                                                        5
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                                                           ,,.’

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    Rural-l           ndapendant



                                                                                                                            4
                   Urban-Chain


                                                                                                                    7
    LJrban-independent                                            ,.


                                                                                                                    7
              NO”.Traditional                                     ..




    Overall            (E       XC.   Non      T)

                                                      1=                                                                          Y                                                                                     /
                                                    302820,15                                           ,cls~                                    160       300           4(50       000         750             900




         Reviewof PharmacyAcquisitionCostsfor Drugs ReimbursedUnderthe MedicaidPrescriptionDrugProgram
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                      CONCLUSIONS AND RECOMMENDATION

    Based on our review, we have determined that there is a significant difference between AWP and
    pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
    significantly greater for generic drugs than for brand name drugs. In general, State
    representatives believed that the review supported current State practices to establish pharmacy
    reimbursement for ingredient cost at levels below AWP.

    We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
    any change to that policy should also consider the other factors discussed in the Scope section of
    our report. Additionally, the effect of Federal upper limit amounts on generic drug
    reimbursements or usual and customary charge limitations should be taken into consideration.
    However, a change in any of the factors affecting pharmacy reimbursement could have a
    significant impact on expenditures because of the size of the program ($131.1 million) in
    Maryland. We believe that the difference between AWP and pharmacy acquisition costs as
    determined by our review is significant enough to warrant consideration by the State in any
    evaluation of the drug program. Therefore, we recommend that the State Agency consider the
    results of this review in determining any fiiture changes to pharmacy reimb~sement for
    Medicaid drugs.

    STATE AGENCY COMMENTS

    The Secretary of the State Agency responded to our draft report in a letter dated,
    November 7, 1996. The Secretary thanked us for the report and suggested that linking AWP to
    the average manufactures price of the Federal rebate program would make AWP more valid. The
    full text of the Secretary’s comments are included in Appendix 4.




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                                                                           APPENDIX 1
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                            SAMPLE DESCMPTION

Sample Objectives:

      Develop an estimate of the extent of the discount below Average Wholesale Prices
      (AWP) for actual invoice prices to Medicaid pharmacies in Maryland for brand name
      drugs and for generic drugs.

Population:

     The sampling population was pharmacy providers participating in the Medicaid
     prescription drug program of the State Agency.

Sampling Frame:

     The sampling frame was a listing of all pharmacy providers participating in the Medicaid
     prescription drug program.

Sample Design:

     A sample of 12 pharmacies was randomly selected from each of 5 strata. The five strata
     of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
     non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). Each
     pharmacy was assigned a month from 1994 for which to provide invoices. All
     pharmacies were initially assigned a month from January through September in a method
     designed to provide a cross-section of the 9-month period. The largest invoice from each
     of four different sources of supply was requested. The sources of supply were identified
     as wholesalers, chain warehouse distribution centers, generic distributors, and direct
     manufacturer purchases. All invoice prices were compared to AWP.

Sample Size:

     Twelve pharmacies were selected from each stratum for a total of 60 pharmacies.

Source of Random Numbers:

      OAS statistical sampling software was used to generate the random numbers.
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        Characteristics to be Measured:

              From our review of the pharmacy invoices, we calculated the percentage of the discount
              below AWP of actual invoice prices for all drugs on the invoices submitted.

        Treatment of Missing Sample Items:

             No spare was substituted for a pharmacy that did not provide itiorrnation. If a pharmacy
             did not send an invoice for a particular type of supplier, we assumed that the pharmacy
             did not purchase drugs from that type of supplier during the month assigned to the
             pharmacy.

        Estimation Methodology:

             We used OAS Statistical Software to project the percentage difference between AWP and
             actual invoice prices for each stratum, as well as an overall percentage difference. The
             overall percentage difference excluded the non-traditional pharmacies. The projections
             were done separately for brand name drugs and generics.

        Other Evidence:

              We obtained AWP from First DataBank.
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                                                                            APPENDIX 2

                         MARYLAND           SAMPLE RESULTS
                      BRAND NAME AND GENERIC                 DRUGS




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                                                18(
                                                      M
                                                      21.1           7.22     16.11
                                                                                      u
                                                                                      26.13

                                35     1(       356   20.1           4.40     18.08   22.02

                               521     L        511   18.(           1.19     17.65   19.60

                               31C     7        20(   18.4           0.91     17.80   18.91

                               143     7        140   20.:           6.1:     16.60   24.06

                               916    26       1259   18.1           0.39     18.08   19.36




                               46      5        241   39.1       12.97        30.07   48.09

                                39    10        299   48.2           7.63     44.79   51.63

                               521     4        195   41.8           9.25     34.17   49.33

                               310     7        88    41.7       14.07        33.08   50.38

                               143     7        151   46.7       17.05        36.32   57.00

                               916    26        823   41.9           3.18     36.65   47.12
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                                                                             APPENDIX3

                                 NATIONWIDE         SAMPLE      RESULTS
                                 BRAND NAME AND GENERIC             DRUGS




                                                                                   m
                                                                                   mm
        RURAL-CHAIN                  1,095    73        5,72?       17.40   1.05   15.67   19.13

        RURAL-INDEPENDENT            1,499    78        3,$43       16.39   1.07   14.63   18.15

        URBAN-CHAIN                  8,194    73        7,19$       18.45   0.52   17.60   19.31

        URBAN-INDEPENDENT            6,242    91        3,00$       18.71   0.90   17.22   20.19

        NON-TRADITIONAL              2,026    66        1,762      27.52    2.28   23.76   31.27

        OVERALL (EXCL.NON-TRAD      17,030    315       18,97?      18.30   0.66   17.21   19.38




        RURAL-CHAIN                  1,095    73        2,963      47.51    1.63   44.82   50.20

        RURAL-INDEPENDENT            1,499    78        I,79f      47.38    0.93   45.85   48.92

        URBAN-CHAIN                  8,194    72        2,634      37.61    2.82   32.97   42.26

        URBAN-INDEPENDENT            6242     91        1,68C      46.72    2.44   42.70   50.73

        NON-TRADITIONAL              2,026    59        1262       57.70    1.98   54.43   60.96

        OVERALL(EXCL.NON-TRAD       17,030    314       9,075      42.45    0.90   40.97   43.93
I-                                                                                                  APPENDLX 4
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          DEPARTMENT                     OF        HEALTH                AND            MENTAL              HYGIENE
              201 WEST PRESTON       STREET    �   BALTIMORE,        MARYLAND   21201    .   Area   Code    410    �   T67-650(1
             Parris  N. Glendening                                                Martin    P. Wasserman,         M. D., J.D.
             Governor                                                             Secretary



                                              November          7,     1996




     Mr. M. Ben Jackson, Jr.
     Acting Director, Operational
      and Program Reviews
     Health Care Financing Audit Division
     Department of Health and Human Services
     Office of Inspector General (OIG)
     7500 Security Boulevard
     Baltimore MD 21244

     Dear. Mr. Jackson:

            Thank you for your letter and the report on pharmacy acquisition costs under the
     Medicaid Program. I apologize for not responding sooner.

              Ma@md Medicaid has felt for some time that the average wholesale price (AWP) is
     unreliable and uses it only as a last resort. According to Maryland Medicaid regulations, most
     products have their estimated acquisition cost (EAC) determined by using the wholesale
     acquisition cost (WAC) plus 10 percent. If this is not available, then the direct price or
     distributors price k used as die basis. Marykirid has found that the -use of W’AC + 10O/orather than
     AWP -10’?kocontinues to be a much more reliable estimate of pharmacy acquisition cost.

             The problem with AWP is that it is essentially an artificial price open to manipulation. If
     the discount off AWP is increased by third party payers such as Medicaid, the price can eventually
     be adjusted over time to maintain the profit margin. The suggestion to neutralize this by linking it
     to the Average Manufacturers Price (AMP) of the Federal Rebate Program is certainly a way to
     make this price more valid. Inflating the AMP would not be in the interest of the manufacturers
     and this would be motivation for manufacturers to keep the AWP/AMP price more realistic. I
     understand that you have been looking into this and I look forward to the possibility of a unified
     price in the fhture that accurately reflects pharmacy acquisition costs.

              For generic drugs the large discrepancy between AWP and acquisition cost in Maryland is
      probably not actually affecting payments. This is because most generics are paid with an upper
     limit regardless of the product dispensed and the more reliable WAC +1 O% is used to calculate



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                                                                                                                       MARYLAND RELAY SERVICE
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    Mr. M. Ben Jackson, Jr.
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    EAC. In Maryland, generics are paid at the lesser of the Federal Government Upper Limit
    (FGUL), the States own Interchangeable Drug Cost (IDC) price or the EAC of the particular
    product.

           Again, my apologies for not responding sooner. If you have any questions, please call
    Mr. Joseph Mdlstone, Director, Medical Care Policy Administrationat(410)    767-1432.

                                         Sincerely,


                                           ,V           /- -
                                         Martin P. Wasserman, M. D., J.D
                                         Secretary

    cc:     Mr. Joseph M. Millstone
